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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                          MDL NO. 2924
   PRODUCTS LIABILITY                                                                   20-MD-2924
   LITIGATION
                                                           JUDGE ROBIN L. ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                        PRETRIAL ORDER #1
                                       Setting Initial Conference

          It appearing that civil actions listed on Schedule A, attached hereto, which were transferred

   to this Court by order of the Judicial Panel on Multi District Litigation pursuant to its order of

   February 6, 2020 merit special attention as complex litigation, the following Order is issued:

          1.        INTRODUCTION—The Court recognizes the competence and experience needed

   to litigate a case of this nature. However, the highest levels of competence and experience alone

   will not necessarily result in a just and efficient resolution of this litigation. The manner in which

   the attorneys comport themselves by remaining professional and courteous at all times is

   imperative; the attorneys likely will be working together for some time in the future with work

   becoming progressively more complicated and exacting. The Manual for Complex Litigation

   recognizes that judicial involvement in managing complex litigation does not lessen the duties and

   responsibilities of the attorneys. To the contrary, the added demands and burdens of this type of

   litigation place a premium on professionalism and require counsel to fulfill their obligations as

   advocates in a manner that will foster and sustain good working relations among fellow counsel

   and the Court.
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           2.      APPLICABILITY OF ORDER—Prior to the Initial Conference and entry of a

   comprehensive order governing all further proceedings in this case, the provisions of this Order

   shall govern the practice and procedure in those actions that were transferred to this Court by the

   Judicial Panel on Multi District Litigation pursuant to its order of February 6, 2020. This Order

   also applies to all related cases filed in all sections of the Southern District of Florida and will also

   apply to any “tag-along actions” filed in, removed to, or transferred to this Court.

           3.      CONSOLIDATION—The civil actions listed on Schedule A are consolidated for

   pretrial purposes. Any “tag-along actions” filed in, removed to, or transferred to this Court, or

   directly filed in the Southern District of Florida, will automatically be consolidated with this action

   without the necessity of future motions or orders. This consolidation, however, does not constitute

   a determination that the actions should be consolidated for trial, nor does it have the effect of

   making any entity a party to any action in which he, she, or it has not been named, served, or added

   in accordance with the Federal Rules of Civil Procedure.

           4.      DATE OF INITIAL CONFERENCE AND AGENDA FOR CONFERENCE—

   Matters relating to pretrial and discovery proceedings in these cases will be addressed at an Initial

   Conference to be held on March 20, 2020 at 9:00 a.m. in Courtroom 1, Paul G. Rogers United

   States Courthouse, 701 Clematis Street, West Palm Beach, Florida. Counsel are expected to

   familiarize themselves with the Manual for Complex Litigation, Fourth (“MCL 4th”) and be

   prepared at the Initial Conference to suggest procedures that will facilitate the expeditious,

   economical, and just resolution of this litigation. The items listed in MCL 4th Sections 22.6, 22.61,

   22.62, and 22.63 shall, to the extent applicable, constitute a tentative agenda for the Initial

   Conference. Counsel shall confer and seek consensus to the extent possible with respect to the

   items on the agenda, including a proposed discovery plan, amendment of pleadings, consideration

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   of any class action allegations, and motions, and be prepared to discuss the mode of trial. If the

   parties have any suggestions as to any case management orders or additional agenda items, these

   shall be filed in this case as a “Notice of Filing Suggested Case Management Orders and/or

   Additional Agenda Items” on or before March 6, 2020.

           5.      INITIAL CENSUS—The Court is interested in generating an initial census in this

   litigation in helping to manage the case from the outset. In the interest of seeking a useful census

   as soon as possible, the parties shall confer in advance of the Initial Conference and be prepared

   to discuss their joint proposal for the content and timing of the initial census in this litigation. The

   Court will form a very small Initial Census Team, comprised of individuals with unique insights

   on how best to organize and implement data analytics in this case. Any person interested in serving

   on the Initial Census Team on behalf of the plaintiffs shall file a one-page application, including

   the person’s role in the case and the reasons for wanting to serve on the Initial Census Team

   specifically (as opposed to leadership more generally), as a “Notice of Filing Application to Serve

   on Initial Census Team” by no later than February 20, 2020. The Court will endeavor to make its

   selections promptly upon receipt of the applications. The Court has requested the assistance of

   Jaime Dodge, Director of the Institute for Complex Litigation and Mass Claims at Emory Law

   School, in facilitating this process, including convening the discussions of the Initial Census Team

   and creating a data analytics architecture for this MDL. The parties may authorize conversations

   with other counsel or stakeholders that Professor Dodge may find helpful, discuss litigation ideas

   or strategies, and/or share any written records or documents with her. No communications or

   sharing of materials with Professor Dodge in this context will be deemed a waiver of privilege, the

   protection afforded by the work place doctrine, the protection afforded material prepared for

   litigation, or violation of HIPAA or other law limiting the sharing of information. This protection


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   is retroactive and covers all prior conversations and communications between Professor Dodge

   and either side related to this litigation. The Initial Census Team should file its draft proposal for

   an initial census in this case as a “Notice of Filing Draft Initial Census Proposals” on or before

   March 16, 2020.

          6.      POSITION STATEMENT—Plaintiffs and defendants shall submit to the Court by

   email in Word Format to Rosenberg@flsd.uscourts.gov on or before March 6, 2020 a brief written

   statement indicating their preliminary understanding of the facts involved in the litigation and the

   critical factual and legal issues. These statements will not be filed, will not be binding, will not

   waive claims or defenses, and may not be offered in evidence against a party in later proceedings.

   A copy of the statement shall also be provided to Professor Dodge. The parties’ statements shall

   list all pending motions, as well as all related cases pending in state or federal court, together with

   their current status, including any discovery taken to date, to the extent known. The parties shall

   be limited to one such submission for all plaintiffs and one such submission for all defendants. In

   addition, the parties shall identify no more than two expert witnesses (and include their CV), who

   will be available within the next several months to participate in a Science Day to educate the

   Court as to the scientific issues raised in the claims alleged in this MDL; again, this is without

   prejudice to changes, if needed.

          7.      APPEARANCE AT INITIAL CONFERENCE—Each party represented by

   counsel shall appear at the Initial Conference through their attorney who will have primary

   responsibility for the party’s interest in this litigation. To minimize costs and facilitate a

   manageable Initial Conference, parties with similar interests may agree, to the extent practicable,

   to have an appearing attorney represent their interests at the Initial Conference. A party, by

   designating an attorney to represent the party’s interest at the Initial Conference, will not be


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   precluded from personally participating or selecting other representation during the future course

   of this litigation, nor will appearance at the conference waive objections to jurisdiction, venue, or

   service. Parties not represented by counsel may appear themselves or through an authorized and

   responsible agent. The Court will make available a telephone line to permit counsel and

   unrepresented parties or their agents who do not attend the Initial Conference in person to listen to

   the conference proceedings. However, to facilitate a manageable Initial Conference, no person

   attending by telephone will be permitted to speak at the conference. All counsel seeking a

   leadership position shall attend the Initial Conference in person.

          Instructions for appearing via telephone are as follows:

                  1.      Please call five (5) minutes prior to the Initial Conference.

                  2.      The toll-free number is: 1 (877) 873-8018.

                  3.      The access code is: 9890482.

                  4.      The security code is: 4008.

          The Court’s telephone conference system has a maximum capacity of 200 calls. The

   parties should take this into account when determining whether to appear in person or by telephone.

          8.      SERVICE—Prior to the Initial Conference, service of all papers, including this

   Order, shall be made by the Initial Census Team on each of the attorneys on the Panel Attorney

   Service List attached hereto and designated as Schedule B. Counsel on this list are requested to

   forward a copy of this Order to other attorneys who should be notified of the Initial Conference.

   Any attorney who wishes to have his or her name added to or deleted from such Panel Attorney

   Service List may do so by filing a notice with the Court seeking to be added to or removed from

   the Service List. Persons who are not named as parties in this litigation but may later be joined as

   parties or who are parties in related litigation pending in other federal or state courts are invited to


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   appear at the Initial Conference. Liaison counsel for the parties, if appointed before the Initial

   Conference, shall file prior to the Initial Conference the most up-to-date list of all attorneys in the

   case and their office addresses, phone and fax numbers, and email addresses.

          9.      EXTENSION AND STAY—Each defendant is granted an extension of time for

   responding by motion or answer to the complaint(s) until a date to be set by this Court. Pending

   the Initial Conference and further orders of this Court, all outstanding discovery proceedings are

   stayed, and no further discovery shall be initiated.

          10.     MASTER DOCKET FILE—Any pleading or document which is to be filed in any

   of these actions shall be filed with the Clerk of this Court and not in the transferor court. The Clerk

   of this Court will maintain a master docket case file under the style “In Re: ZANTAC

   (RANITIDINE) PRODUCTS LIABILITY LITIGATION” and the identification “MDL No. 2924,

   20-MD-2924.” When a pleading is intended to be applicable to all actions, this shall be indicated

   in the caption of the pleading by the words: “This Document Relates to All Cases.” When a

   pleading is intended to apply to less than all cases, this Court's docket number for each individual

   case to which the pleading relates shall appear immediately after the words “This Document

   Relates to” in the caption of the pleading. The following is a sample of the pleading caption:




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                        MDL NO. 2924
   PRODUCTS LIABILITY                                                                 20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO:

          11.     FILING—All documents filed in this Court must be filed electronically pursuant to

   Local Rule 5.1(b) and this Court’s Administrative Procedures for Electronic Filing. Information

   on electronic filing can be found on the Court’s website at: https://www.flsd.uscourts.gov/policies-

   procedures.

          Counsel who appeared in a transferor court prior to transfer need not enter an additional

   appearance before this Court.

          Attorneys not admitted to practice in the United States District Court for the Southern

   District of Florida and who have not obtained local counsel shall be allowed electronic filing

   privileges and permitted to file and receive service of documents electronically according to this

   Court’s CM/ECF Administrative Procedures, notwithstanding language to the contrary in Special

   Rule 4 of the Local Rules of the United States District Court for the Southern District of Florida.

   Such attorneys shall file the Certificate of Understanding attached at Schedule C. The Court directs

   the Court Administrator-Clerk of Court to assign CM/ECF usernames and passwords to such

   attorneys following the receipt by the Clerk of Court of properly executed Certificates of

   Understanding.




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          An attorney who, due to exceptional circumstances, is unable to comply with the

   requirements of electronic filing, may apply to the Court for an order granting an exemption. The

   application shall be in writing and shall state the reason for the attorney’s inability to comply.

          Pro se litigants shall file their pleadings with the Clerk of this Court on paper.

          12.      DOCKETING—When an action that properly belongs as part of In Re: Zantac

   (Ranitidine) Products Liability Litigation is hereinafter filed in the Southern District of Florida or

   transferred here from another court, the Clerk of this Court shall:

                a. File a copy of this Order in the separate file for such action;

                b. Make an appropriate entry on the master docket sheet;

                c. Forward to the attorneys for the plaintiff in the newly filed or transferred case a

                   copy of this Order;

                d. Upon the first appearance of any new defendant, forward to the attorneys for the

                   defendant in such newly filed or transferred cases a copy of this Order.

          13.      PRESERVATION OF EVIDENCE—All parties and their counsel are directed to

   preserve evidence that may be relevant to this action. The duty extends to documents, data, and

   tangible things in possession, custody, and control of the parties to this action, and any employees,

   agents, contractors, carriers, bailees, or other nonparties who possess materials reasonably

   anticipated to be subject to discovery in this action. “Documents, data, and tangible things” is to

   be interpreted broadly to include writings, records, files, correspondence, reports, memoranda,

   calendars, diaries, minutes, electronic messages, voice mail, email, telephone message records or

   logs, computer and network activity logs, hard drives, backup data, removable computer storage

   media such as tapes, discs and cards, printouts, document image files, Web pages, databases,

   spreadsheets, software, books, ledgers, journals, orders, invoices, bills, vouchers, checks


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   statements, worksheets, summaries, compilations, computations, charts, diagrams, graphic

   presentations, drawings, films, charts, digital or chemical process photographs, video,

   phonographic, tape or digital recordings or transcripts thereof, drafts, jottings and notes, studies or

   drafts of studies or other similar such material. Information that serves to identify, locate, or link

   such material, such as file inventories, file folders, indices, and metadata, is also included in this

   definition. Preservation includes the obligation not to alter any such thing as to its form, content,

   or manner of filing. Until the parties reach an agreement on a preservation plan or the Court orders

   otherwise, each party shall take reasonable steps to preserve all documents, data, and tangible

   things containing information potentially relevant to the subject matter of this litigation. Each

   counsel is under an obligation to the Court to exercise all reasonable efforts to identify and notify

   parties and nonparties, including employees of corporate or institutional parties, of the contents of

   this paragraph. Failure to comply may lead to dismissal of claims, striking of defenses, imposition

   of adverse inferences, or other dire consequences.

          Before any devices, tangible things, documents, and other records which are reasonably

   calculated to lead to admissible evidence are destroyed, altered, or erased, counsel shall confer to

   resolve questions as to whether the information should be preserved. If counsel are unable to agree,

   any party may apply to this Court for clarification or relief from this Order upon reasonable notice.

          14.     FILING OF DISCOVERY REQUESTS—In accordance with Local Rule 26.1(b),

   discovery requests and responses are not to be filed nor sent to the Judge’s Chambers, except when

   specifically ordered by the Court to the extent needed in connection with a motion.

          15.     LIAISON COUNSEL—The Court will consider the appointment of liaison counsel

   for the parties. Prior to the Initial Conference, counsel for the plaintiffs and counsel for defendants

   shall, to the extent they have not already done so, confer and seek consensus on the selection of a


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   candidate for the position of liaison counsel for each group who will be charged with essentially

   administrative matters. For example, liaison counsel shall be authorized to receive orders and

   notices from the Court on behalf of all parties within their liaison group, and pending further orders

   of the Court, shall be responsible for the preparation and transmittal of copies of such orders and

   notices to the parties in their liaison group and perform other tasks determined by the Court.

   Liaison counsel shall be required to maintain complete files with copies of all documents served

   upon them and shall make such files available to parties within their liaison group upon request.

   Liaison counsel are also authorized to receive orders and notices from the Judicial Panel on Multi

   District Litigation pursuant to Rule 4.1(d) of the Panel's Rules of Procedure or from the transferee

   court on behalf of all parties within their liaison group and shall be responsible for the preparation

   and transmittal of copies of such orders and notices to the parties in their liaison group. Plaintiffs’

   liaison counsel shall coordinate the establishment of a document depository, real or virtual, to be

   available to all participating plaintiffs’ counsel. The expenses incurred in performing the services

   of liaison counsel shall be shared equally by all members of the liaison’s group in a manner

   agreeable to the parties or set by the Court failing such agreement. The parties, if they have agreed

   upon the selection of a candidate for the position of liaison counsel for each group, shall file with

   the Court on or before March 6, 2020, a ‘Notice of Agreed Upon Liaison Counsel” and include

   the identity and contact information for the liaison counsel agreed upon by the parties. If the parties

   are unable to agree upon the selection of a candidate for the position of liaison counsel for each

   group, applications and/or nominations for the designation of liaison counsel must be filed on or

   before March 6, 2020. The applications and/or nominations must also be served upon counsel

   named in Schedule B. No submissions longer than three (3) pages will be considered. Appointment

   of liaison counsel will be made by the Court after full consideration of the proposals. At the Initial



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   Conference, liaison counsel, if appointed, and/or the parties should be prepared to discuss any

   additional needs for an organizational and leadership structure or any additional matters consistent

   with the efficient handling of this matter. Henceforth, liaison counsel for all parties shall meet and

   confer prior to the Court conferences; prepare agendas for the conferences and submit them to the

   Court three days before the conference; and report at the conference regarding the status of the

   case. The designation of liaison counsel is made without either prejudice or advantage to any other

   leadership role by that attorney.

          16.     PLAINTIFFS’ STEERING COMMITTEE—The Court will consider the

   appointment of a Plaintiffs’ Steering Committee (“PSC”) to conduct and coordinate the discovery

   stage of this litigation with the defendants’ representatives or committee. The Court recognizes

   that plaintiffs will need substantial human and capital resources to pursue this litigation and the

   importance of a PSC in that endeavor, but also the downsides of creating an unnecessarily large

   leadership structure. The Court is aware of the benefits of a smaller leadership team, but will look

   forward to the initial census in providing useful information about the likely size and nature of the

   MDL before making a final decision about the size and structure, including but not limited to the

   need for either co-leads or an executive committee. Applications and/or nominations for the

   leadership positions must be filed on or before March 6, 2020. The applications and/or

   nominations must also be served upon counsel named in Schedule B. The main criteria for

   individual membership in the PSC will be: (a) willingness and availability to commit to a time-

   consuming project; (b) ability to work cooperatively with others; (c) professional experience in

   this type of litigation; and (d) willingness to commit the necessary resources to pursue this matter.

   Collectively, the Court seeks a PSC that is diverse and experienced, but also has a diversity of

   experiences – the leadership team should represent different skill sets, expertise, life experiences,



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   and prior MDLs, so that together they can bring together a multiplicity of approaches to select the

   best ideas for moving this matter forward. The Court recognizes the value of both seasoned

   leadership and energetic attorneys with new ideas. Applications and/or nominations should

   succinctly address each of the above criteria as well as any other relevant matters. No submissions

   longer than three (3) pages plus an appendix will be considered. The Court will only consider

   attorneys who have filed a civil action in this litigation. Appendix A to the application and/or

   nomination shall include a list of all state and federal Zantac cases in which the attorney appears

   as counsel. State cases shall be listed separately from federal cases, and the list of state cases shall

   include the court in which the case is pending, the court file number, the name of the presiding

   judge, and the presiding judge’s telephone number. Appendix B shall include a list or chart of the

   other MDLs in which the attorney has performed work, including the presiding judge, the

   presiding judge’s telephone number, the position (if any) held, the nature of the MDL (drug,

   device, antitrust, etc.), a phrase describing the nature of the work performed (e-discovery, science,

   depositions, etc.), and the extent of ongoing time commitment to that MDL. Attorneys may include

   specific non-MDL matters that they believe are highly relevant, but counsel are reminded that

   brevity and judgment are valuable traits in leadership counsel. Attorneys may include an optional

   Appendix C listing other attorneys whom they believe would be beneficial to leadership, in lieu

   of a separate nomination, with a single sentence explaining what unique expertise the individual

   brings as part of the proposed collective group.

           Counsel are reminded that the Court intends to create an efficient leadership team at this

   phase of the litigation, and thus suggestions of large leadership teams will not be as helpful to the

   Court as smaller proposals.




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          Objections in writing may be made to the appointment of a proposed applicant and/or

   nominee. These must be filed on or before March 11, 2020. The objections must not be longer

   than three (3) pages and must be supported by necessary documentation. As with the application

   and/or nomination, any objection must be served on all counsel appearing on Schedule B.

          The PSC will have the following responsibilities:

          Discovery:

                 1. Initiate, coordinate, and conduct all pretrial discovery on behalf of

                       plaintiffs in all actions which are consolidated with the instant multidistrict

                       litigation.

                 2. Develop and propose to the Court schedules for the commencement,

                       execution, and completion of all discovery on behalf of all plaintiffs.

                 3. Cause to be issued in the name of all plaintiffs the necessary discovery requests,

                       motions, and subpoenas pertaining to any witnesses and documents needed to

                       properly prepare for the pretrial discovery of relevant issues. Similar requests,

                       notices, and subpoenas may be caused to be issued by the PSC upon written

                       request by an individual attorney to assist him or her in the preparation of the

                       pretrial stages of his or her client’s particular claims.

                 4. Conduct all discovery in a coordinated, efficient, and consolidated manner on

                       behalf and for the benefit of all plaintiffs. No attorney for a plaintiff may be

                       excluded from attending the examination of witnesses and other proceedings.

                       Such attorney may suggest questions to be posed to deponents through the

                       designated PSC members, provided that such questions are not repetitious.




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         Hearings and Meetings:

               1. Call meetings of counsel for plaintiffs for any appropriate purpose, including

                   coordinating responses to questions of other parties or of the Court. Initiate

                   proposals, suggestions, schedules, or joint briefs, and any other appropriate

                   matters pertaining to pretrial proceedings.

               2. Examine witnesses and introduce evidence at hearings on behalf of

                   plaintiffs.

               3. Act as spokesperson for all plaintiffs at pretrial proceedings and in response to

                   any inquiries by the Court, subject to the right of any plaintiff’s counsel to

                   present non-repetitive individual or different positions.

         Miscellaneous:

               1. Submit and argue any verbal or written motions presented to the Court on

                   behalf of the PSC as well as oppose any motions submitted by the defendants.

               2. Negotiate and enter into stipulations with defendants. All stipulations entered

                   into by the PSC, except for strictly administrative details such as scheduling,

                   must be submitted for Court approval and will not be binding until approved

                   by the Court. Any attorney not in agreement with a non-administrative

                   stipulation shall file a written objection thereto within ten (10) days after he or

                   she knows or should have reasonably become aware of the stipulation. Failure

                   to object within the term allowed shall be deemed a waiver and the stipulation

                   will automatically be binding on that party.

               3. Explore, develop, and pursue all settlement options pertaining to any claim or

                   portion thereof of any case filed.



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                  4. Maintain adequate files of all pretrial matters and have them available, under

                      reasonable terms and conditions, for examination by plaintiffs or their

                      attorneys.

                  5. Prepare periodic status reports summarizing the PSC’s work and progress.

                      These reports shall be submitted to the plaintiffs’ liaison counsel who will

                      promptly distribute copies to the other plaintiffs’ attorneys.

                  6. Perform any task necessary and proper for the PSC to accomplish its

                      responsibilities as defined by the Court’s orders.

                  7. Perform such other functions as may be expressly authorized by further orders

                      of this Court.

                  8. Reimbursement for costs and/or fees for services will be set at a time and in a

                      manner established by the Court after due notice to all counsel and after a

                      hearing.

          17.     DEFENDANTS’ STEERING COMMITTEE—The Court will consider the

   recommendations of the defendants for membership on the Defendants’ Steering Committee.

   Defendants’ Steering Committee will have the duties and responsibilities described in Paragraph

   16 of this Order as it pertains to this respective group.

          18.     MDL 2924 WEBSITE—A website particular to MDL 2924 has been created and

   can be accessed by going to this Court’s website located at www.flsd.uscourts.gov and clicking on

   “Multi-District Litigation (MDL)” under “Case Info,” and then clicking on the link to “Zantac

   (Ranitidine) Products Liability Litigation, MDL 2924 (Hon. Robin L. Rosenberg).”

          19.     COMMUNICATION WITH THE COURT—Unless otherwise ordered by this

   Court, all substantive communications with the Court shall be in writing, with copies to opposing


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   counsel. Nevertheless, the Court recognizes that cooperation by and among plaintiffs’ counsel and

   by and among defendants’ counsel is essential for the orderly and expeditious resolution of this

   litigation. The communication of information among and between plaintiffs’ counsel and among

   and between defendants’ counsel shall not be deemed a waiver of the attorney-client privilege or

   the protection afforded attorney’s work product, and cooperative efforts contemplated above shall

   in no way be used against any plaintiff by any defendant or against any defendant by any plaintiff.

   Nothing contained in this provision shall be construed to limit the rights of any party or counsel to

   assert the attorney-client privilege or attorney work product doctrine.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 14th day of

   February, 2020.


                                                         _______________________________
                                                         ROBIN L. ROSENBERG
   Attachments                                           UNITED STATES DISTRICT JUDGE




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   IN RE: ZANTAC (RANITIDINE)                                         MDL No. 2924
   PRODUCTS LIABILITY LITIGATION                                       20-MD-2924


                                         SCHEDULE A

               Eastern District of California

      HANSEN v. BOEHRINGER INGELHEIM PHARMACEUTICALS, INC., ET
        AL., C.A. No. 2:19-02069

               Northern District of California

      BALISTRERI v. BOEHRINGER INGELHEIM PHARMACEUTICALS, INC., ET AL.,
        C.A. No. 3:19-07226
      GARZA, ET AL. v. SANOFI-AVENTIS U.S. LLC, ET AL., C.A. No. 5:19-05772

               District of Colorado

      BLAKE v. BOEHRINGER INGELHEIM PHARMACEUTICALS, INC., ET
        AL., C.A. No. 1:19-02991

               District of Connecticut

      DIMESKY, ET AL. v. SANOFI-AVENTIS U.S. LLC, ET AL., C.A. No. 3:19-01517
      CRAVENS, ET AL. v. BOEHRINGER INGELHEIM PHARMACEUTICALS,
         INC., ET AL., C.A. No. 3:19-01683

               Southern District of Florida

      LOPEZ FLORES v. SANOFI US SERVICES INC., ET AL., C.A. No. 0:19-62313
      KERZER v. SANOFI-AVENTIS U.S. LLC., ET AL., C.A. No. 1:19-24092
      GALIMIDI v. SANOFI US SERVICES INC., ET AL., C.A. No. 1:19-24395

               Southern District of Illinois

      SOBIESZCZYK v. BOEHRINGER INGELHEIM PHARMACEUTICALS,
        INC., ET AL., C.A. No. 3:19-01200

               District of New Jersey

      SANTORELLA, ET AL. v. SANOFI-AVENTIS U.S. LLC, ET
         AL., C.A. No. 3:19-18146
      PINALES v. SANOFI S.A., ET AL., C.A. No. 3:19-19324


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      CRAVENS, ET AL. v. BOEHRINGER INGELHEIM PHARMACEUTICALS, INC.,
        ET AL., C.A. No. 3:19-19368

               Eastern District of New York

      DE LUCA v. SANOFI-AVENTIS U.S. LLC, ET AL., C.A. No. 1:19-06160

               Southern District of New York

      RODRIGUEZ v. SANOFI U.S. LLC, ET AL., C.A. No. 1:19-09527




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                                          SCHEDULE B

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                                             SCHEDULE C

                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE) PRODUCTS                                                  MDL NO. 2924
   LIABILITY LITIGATION                                                                  20-MD-2924

                                                                 JUDGE ROBIN L. ROSENBERG

                                                 MAGISTRATE JUDGE BRUCE E. REINHART
   _______________________________/

                  CERTIFICATE OF UNDERSTANDING REGARDING
            ELECTRONIC FILING IN THE SOUTHERN DISTRICT OF FLORIDA

          I, the undersigned, do hereby certify that:

          1.      I am a member of good standing of the Bar of                                        .

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          3.    I have studied, understand, and will abide by the Administrative Procedures
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